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 9
                                UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                        No. 1:15-CR-000207 DAD
12

13                                Plaintiff,

14                          v.                      STIPULATION TO CONTINUE SENTENCING
                                                    AND ORDER
     JESUS MATA,
15

16                                Defendant.

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19          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
20   Attorney and Kimberly A. Sanchez, Assistant U.S. Attorney and Victor Chavez, counsel for the
21   defendant, that the sentencing set for, January 27, 2020, at 10:00 am before the Honorable Dale
22   A. Drozd, U.S. District Court Judge, be continued to May 4, 2020 at 10:00 a.m. The parties need
23   additional time to conclude investigation related to sentencing.
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     Case 1:15-cr-00207-DAD-BAM Document 140 Filed 01/23/20 Page 2 of 2


 1   Dated: January 23, 2020                               Respectfully submitted,
 2                                                         McGREGOR W. SCOTT
                                                           United States Attorney
 3
                                                 By        /s/ Kimberly A. Sanchez
 4                                                         KIMBERLY A. SANCHEZ
                                                           Assistant U.S. Attorney
 5
     Dated: January 23, 2020                               /s/ Victor Chavez
 6                                                         VICTOR CHAVEZ
                                                           Attorney for Defendant
 7

 8

 9                                             ORDER

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            GOOD CAUSING APPEARING, the Court hereby continues the sentencing hearing
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     currently scheduled for January 27, 2020, to May 4, 2020, at 10:00 a.m.
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13   IT IS SO ORDERED.
14
        Dated:    January 23, 2020
15                                                        UNITED STATES DISTRICT JUDGE

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